        Case 1:98-cv-00720-GWM Document 338 Filed 04/29/05 Page 1 of 1




           In the United States Court of Federal Claims
____________________________________
                                  )
PRECISION PINE & TIMBER, INC., )
                                  )                           No. 98-720 C
                                  )
                 Plaintiff,       )
v.                                )                           Filed April 29, 2005
                                  )
THE UNITED STATES,                )
                                  )
                 Defendant.       )
_________________________________)


                                              ORDER

        On April 4, 2005, defendant filed a Partial Motion to Dismiss for Lack of Jurisdiction,
document 297. In its motion, defendant asserted that the Court lacks jurisdiction over plaintiff’s
costs for increased log hauling and claim preparation because these costs constitute new claims
that were not presented or certified to the contracting officers. Def.’s Mot. at 5. Plaintiff filed an
Opposition to Defendant’s Partial Motion to Dismiss for Lack of Jurisdiction on April 28, 2005,
document 335. Plaintiff’s increased hauling and claim preparation costs do not constitute new
claims that were not presented to the contracting officer. Rather, they are additional elements of
damages arising out of the same operative facts as the other damages plaintiff is seeking, i.e.,
damages resulting from the improper suspensions. See Miller Elevator Co., Inc. v. United States,
30 Fed. Cl. 662, 701 (1994). Accordingly, defendant’s Partial Motion to Dismiss for Lack of
Jurisdiction is DENIED.


IT IS SO ORDERED.

                                                        s/ George W. Miller
                                                       GEORGE W. MILLER
                                                       Judge
